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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE                                Civil Action No. 17-cv-11633
COMMISSION,

                       Plaintiff,

        v.

NAVELLIER & ASSOCIATES, INC. and
LOUIS NAVELLIER,

                       Defendants




   DEFENDANTS’ EMERGENCY MOTION TO STAY ENFORCEMENT OF FINAL
       JUDGMENT OR TO REDUCE AMOUNT OF SUPERSEDEAS BOND




Pursuant to Federal Rules of Civil Procedure Rule 62(d) and Local Rules 62.2 Defendants

Navellier & Associates, Inc. (“NAI”) and Louis Navellier (“LN”) (collectively “Defendants”)

hereby move to stay enforcement of the Final Judgment (DKT#285) until the Circuit Court of

Appeals renders a decision on appeal from said final judgment.

       In the alternative, Defendants request this Court to temporarily stay enforcement so that it

can rule on this motion.




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       Defendants further move for an order reducing the supersedeas bond to $27,500 as that is

all Defendants believe that they would be required to “disgorge” in light of the United States

Supreme Court decision in Liu v. SEC if the summary judgment is upheld on appeal.



                                             Respectfully submitted,

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                                            Rule 7.1


       Counsel for Defendants and counsel for Plaintiff have met and conferred several times in

an attempt to resolve this matter without the need for a contested motion but were unable to do

so.



DATED: June 22, 2020           LAW OFFICES OF SAMUEL KORNHAUSER
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                                 CERTIFICATE OF SERVICE

       I certify that on June 22, 2020, a copy of the foregoing was electronically filed through the

ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: June 22, 2020                                  /s/ Dan Cowan
                                                          Dan Cowan




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